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                        EXHIBIT A
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                                                                                                                USOO660410OB1

       (12) United States Patent                                                               (10) Patent No.:             US 6,604,100 B1
              Fernandez et al.                                                                 (45) Date of Patent:                  Aug. 5, 2003

       (54)    METHOD FOR CONVERTING RELATIONAL                                             A. Deutsch, M. F. Fernandez, and D. Suciu. Storing semi
               DATA INTO ASTRUCTURED DOCUMENT                                               structured data with STORED. In SIGMOD 99, pp.
                                                                                            431–442, 1999.*
       (75) Inventors: Maria F. Fernandez, Madison, NJ                                      Geo Wiederhold, “Mediators in the Architecture of Future
                       (US); Dan Suciu, Seattle, WA (US);                                   Information System,” IEEE Computer, Mar. 1992, pp.
                            Wang-Chiew Tan, Philadelphia, PA                                38-49.
                      (US)                                                                  Mary Fernandez et al., “Efficient Evaluation of XML
                                                                                            Middle-ware Queries' Nov. 27, 2000.
       (73) Assignee: AT&T Corp., New York, NY (US)                                         Mary Fernandez et al., “SilkRoute: Trading between Rela
                                                                                            tion and XML, Jun. 16, 2000.
       (*) Notice:          Subject to any disclaimer, the term of this                     I. Manolescu, D. Florescu, D. Kossmann, F. Xhumari, D.
                            patent is extended or adjusted under 35                         Olteanu, “Agora: Living with XML and Relational”, in
                            U.S.C. 154(b) by 212 days.                                      VLDB 2000, pp 623–626.
                                                                                            J. Shanmugasundaram, J. Kiernan, E. Shekita, C. Fan, J.
       (21) Appl. No.: 09/778,749                                                           Funderburk, “Querying XML views of relational data”, in
                                                                                            VLDB 2001.
       (22) Filed:     Feb. 8, 2001                                                         J. Shanmugasundaram, E. Shekita, R. Barr, M. Carey, B.
                       Related U.S. Application Data                                        Lindsay, H. Pirahesh, B. Reinwald, “Efficiently Publishing
       (60) Provisional application No. 60/181,400, filed on Feb. 9,                        Relational Data as XML Documents”, VLDB Journal (to
            2000.                                                                           appear).
       (51) Int. Cl................................................. G06F 17/30             * cited by examiner
       (52) U.S. Cl. ................................ 707/3; 707/513; 707/1                 Primary Examiner Diane D. Mizrahi
       (58) Field of Search ................................ 707/1, 2, 3, 4,                ASSistant Examiner Yicun Wu
                                                        707/10, 104.1, 513                  (57)                  ABSTRACT
       (56)                     References Cited                                            A method for converting relational data to XML (Extensible
                        U.S. PATENT DOCUMENTS                                               Markup Language) is provided. The method, Sometimes
                                                                                            referred to as SilkRoute, provides a general, dynamic and
              6,263,332 B1 * 7/2001 Nasr et al. .................. 707/513                  efficient tool for viewing and querying relational data in
              6,343.287 B1 * 1/2002 Kumar et al. .....                                      XML. SilkRoute can express mappings of relational data in
              6,366,934 B1 * 4/2002 Cheng et al. ............... 707/513                    XML that conforms to arbitrary public document type
                          OTHER PUBLICATIONS                                                definitions. Also, SilkRoute can materialize the fragment of
                                                                                            an XML view needed by an application and it can fully
       Jayavel Shanmugasundaram, H. Gang, Kristin Tufte, Chun                               exploit the query engine of a relational database manage
       Zhang, David DeWitt, and Jeffrey F. Naughton. Relational                             ment system whenever data items in an XML view need to
       Databases for Querying XML Documents: Limitations and                                be materialized.
       Opportunities. In Proceedings of the Conference on Very
       Large Data Bases, 1999.*                                                                           49 Claims, 2 Drawing Sheets
                                                                                                          120

                                                                                                        Application




                                                                                 Query
                                                                               Composer
                                                                Executable Query
                                                                           (RXL)
                                                   Source Description           ranslator
                                                   (xy)
                                                                          C.

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          METHOD FOR CONVERTING RELATIONAL                                   the XML view need to be materialized. Query processors for
           DATA INTO ASTRUCTURED DOCUMENT                                    ative XML data are still immature and do not have the
                                                                             performance of highly optimized DBMS engines.
                 CROSS-REFERENCE TO RELATED                                     Several commercial tools for exporting relational data
                        APPLICATIONS                                         into XML views exist today. The ODBC2XML, a product of
         This application claims priority under 35 USC S 119(e) to           Intelligent Systems Research (www.intsysr.com) tool allows
       U.S. provisional patent application serial No. 60/181,400,            users to define XML documents with embedded SQL
       filed on Feb. 9, 2000.                                                Statements, which permit the users to construct an XML
                                                                             View of the relational data. Such views are materialized,
                     FIELD OF THE INVENTION                            however, and cannot be further queried with an XML query
                                                                       language. Alternatively, Oracle's XSQL tool defines a fixed,
         The present invention relates to the field of data eXchange canonical mapping of the relational data into an XML
       between applications on the Internet. More particularly, the document, by mapping each relation and attribute name to
       present invention relates to converting relational data into    an XML tag and tuples as nested elements. Such a view
       XML (eXtensible Markup Language).                            15
                                                                       could be kept Virtual, but this approach is not general enough
                                                                       to support mapping into an arbitrary XML format. IBM's
                BACKGROUND OF THE INVENTION                            DB2, XML Extender provides a Data Access Definition
         XML (eXtensible Markup Language) can serve many                     (DAD) language that Supports both composition of rela
       purposes. XML is a more expressive markup language than               tional data in XML and decomposition of XML data into
       HTML (Hyper-Text Markup Language). XML may be an                      relational tables. DADS composition feature Supports gen
       object-Serialization format for distributed object applica            eration of arbitrary XML from relational data. However, the
       tions. XML Serves as the Standard format for data eXchange            criteria for grouping elements is implicit in the DAD and
       between inter-enterprise applications on the Internet. In data        DAD specifications cannot be nested arbitrarily. More
       eXchange, XML documents are generated from persistent                 Significantly, XML Extender does not Support query com
                                                                             position.
       data and then Sent over a network to an application. To 25
       facilitate data eXchange, numerous industry groups, Such as                      SUMMARY OF THE INVENTION
       healthcare and telecommunications groups, have been defin           The present invention overcomes many of the Shortcom
       ing public document type definitions (DTDs) that specify the ings of the prior art. In addition, the present invention
       format of the XML data to be exchanged between their addresses the problem of automating the conversion of
       applications. The aim is to use XML as a “lingua franca' for relational data into XML. According to the invention, a
       data eXchange between inter-enterprise applications. XML general, dynamic, and efficient tool for viewing and query
       could make it possible for data to be exchanged regardless ing relational data in XML referred to as SilkRoute is
       of the platform on which it is stored or the data model in provided. SilkRoute is general, because it can express map
       which it is represented.                                          pings of relational data into XML that conform to arbitrary
                                                                         DTDS, not just a canonical mapping of the relational
          Most data is Stored in relational or object-relational data 35 Schema.
       base management Systems (RDBMS) or in legacy formats. cations can          The mappings may be referred to as ViewS. Appli
                                                                                     express the data they need as an XML-QL query
       To realize the full potential of XML, tools are needed that over the View. SilkRoute is dynamic, because it can mate
       can automatically convert the vast Stores of relational data rialize the fragment of an XML view needed by an
       into XML. Such tools should be general, dynamic, and application, and Silkroute is efficient, because it can fully
       efficient.                                                       40   exploit the underlying RDBMS (Relational DataBase Man
         Relational data is tabular, flat, normalized, and its Schema        agement Systems) query engine whenever data items in an
       is proprietary, which makes it unsuitable for direct XML view need to be materialized.
       eXchange. In contrast, XML data is nested and                        According to one aspect of the present invention a general
       un-normalized, and its DTD is public. Thus, the mapping framework is provided for mapping relational databases to
       from relational data to an XML view is often complex, and 45 XML views, to be used in data eXchange. In another aspect
       a conversion tool must be general enough to express com of the invention, a new query language, RXL, for mapping
       plex mappings. Existing commercial Systems fail to be relational Sources to XML views, is provided. According to
       general, because they map each relational database Schema yet another aspect, the present invention provides a Sound
       into a fixed, canonical DTD. This approach is limited, and complete query composition algorithm that, when given
       because no public DTD will match exactly a proprietary 50 an RXL query and an XML-QL query, generates a new RXL
       relational Schema. In addition, it is often desirable to map query equivalent to their composition. In a still further
       one relational Source into multiple XML documents, each of aspect of the present invention, a technique is provided in
       which conforms to a different DTD. Hence a second step is which most of the work of an RXL query can be shipped to
       required to transform the data from its canonical form in the underlying database engine.
       XML into its final XML form.                                   55    Although the invention has been defined using the
          Also, the tools must be dynamic, i.e., only the fragment of appended claims, these claims are exemplary and limiting to
       the XML document needed by the application should be the extent that the invention is meant to include one or more
       materialized. In database terminology, the XML view must
       be virtual. The application typically Specifies in a query what elements
                                                                         combination
                                                                                    from the apparatuses described herein in any
                                                                                       or Sub-combination. Accordingly, there are any
       data item(s) it needs from the XML document. Typically, 60 number of alternative combinations for defining the inven
       these items are a Small fraction of the entire data. Some
                                                                         tion that incorporate one or more elements from the Speci
       commercial products allow users to export relational data fication (including drawings, claims, etc.) in any combina
       into XML by writing scripts. However, these tools are not tions or Sub-combinations.
       dynamic. Rather, they are general because the entire docu
       ment is generated all at once.                                 65        BRIEF DESCRIPTION OF THE DRAWINGS
          Finally, to be efficient, such tools must exploit fully the       The present invention will now be described in more
       underlying query engine of RDBMS whenever data items in detail with reference to preferred embodiments of the




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       invention, given only by way of example, and illustrated in         DTD of XML data exported by Suppliers to resellers,
       the accompanying drawings in which:                                 Supplier.dtd, is shown below.
         FIG. 1 shows an illustrative architecture of SilkRoute
       according to the present invention.
          FIG. 2 depicts an illustrative architecture of query com         <?xml encoding = “US-ASCII's
       position according to the present invention.                        <!ELEMENT supplier       (company, product)>
                                                                           <!ELEMENT product        (name, category, description, retail, sale?,
                       DETAILED DESCRIPTION                                                         report)>
                                                                           <!ATTLIST product           ID IDs
          The present invention includes SilkRoute, a general,           <!ELEMENT company            (#PCDATA)>
                                                                         &ELEMENT name                (#PCDATA)>
       dynamic, and efficient tool for viewing and querying rela         &ELEMENT retail              (#PCDATA)>
       tional data in XML. SilkRoute is a particular instance of a       &ELEMENT sale                (#PCDATA)>
       mediator system, as defined by Geo Wiederhold in “Media           <!ELEMENT     report         (#PCDATA)>
       tors in the Architecture of Future Information Systems”           <!ATTLIST report code        (sizedefectivestyle) #REQUIRED>
       IEEE Computer, pages 38-49, March 1992. In SilkRoute, 15
       data can be exported into XML in two steps. First, an XML            The above code includes the Supplier's name and a list of
       View of the relational database may be defined using a available products. Each product element includes an item
       declarative query language, called RXL (Relational to XML name, a category name, a brief description, a retail price, an
       Transformation Language). The resulting XML view can be optional Sale price, and Zero or more trouble reports. The
       Virtual. Second, Some other application formulates a query content of a retail or Sale element typically is a currency
       over the Virtual view, extracting Some piece of XML data. value. A trouble report includes a code attribute, indicating
       For this purpose, an existing XML query language, XML the class of problem; the report's content may be the
       QL, may be used. Only the result of that XML-QL query can customer's comments. Most importantly, this DTD can be
       be materialized.                                                  used by Suppliers and resellers, and it can be a public
          The core of SilkRoute is RXL, a powerful, declarative 25 document.
       data-transformation language from flat relations to XML              Consider now a particular Supplier whose busineSS data is
       data. On the relational side, RXL has much of the power of organized according to the relational Schema. An illustrative
       SQL queries and can express joins, Selection conditions, Schema of a Supplier's relational database (* denotes key) is
       aggregates, and nested queries. On the XML Side, RXL has depicted in the code below.
       the full power of XML-QL, and can generate XML data with             Clothing(pid, item, category, description, price, cost)
       complex Structure and with arbitrary levels of nesting. It can       SalePrice(*pid,      price)
       also specify arbitrary grouping criteria, using nested queries
       and Skolem functions. Typical RXL queries are long and               Problems(pid,      code,  comments)
       complex, because they express general transformations from           The Clothing table contains tuples with a product id (the
       the relational store to the XML view. RXL has a block 35 table's key), an item name, category name, item description,
       Structure to help users organize, Structure, and maintain large price, and cost. The SalePrice table contains Sale prices and
       queries.                                                          has key field pid and the Problem table contains trouble
                                                                         codes of products and their reports. The above code shows
          Once the virtual XML view is defined, SilkRoute accepts a third-normal form relational Schema, designed for the
       XML-QL user queries and composes them automatically 40 Supplier's
       with the RXL query. The result of the composition is another proprietary.particular          busineSS needs. The Schema can be
                                                                                         For example, the Supplier may not want to
       RXL query, which can extract that fragment of the relational reveal the attribute cost in Clothing. The Supplier's task is to
       data that the user requested. In existing relational databases, convert    its relational data into a valid XML view conforming
       composition can be Straightforward and not considered a to the DTD               and make the XML view available to resellers.
       problem. For example, Ramakrishnan and Gehrke, in "Data 45 In this example, it is assumed that the Supplier exports a
       base Management Systems’ McGraw-Hill, 2nd ed. 1999, Subset of its inventory, in particular, its Stock of winter
       describe how to reformulate SQL queries over SQL virtual
       views as SQL queries over base relations. For XML, outerwear                   that it wants to Sell at a reduced price at the end
                                                                         of the winter Season.
       however, this problem is more complex. The present inven
       tion provides a Sound, complete, and conceptually simple 50 theOnce         the XML views of a suppliers data are available,
                                                                             reseller  can access that data by formulating queries over
       algorithm that when given an RXL query and an XML-QL the XML view.                   Some examples of such queries may include:
       query, produces a new RXL query equivalent to their com           1) retrieve  products     whose sale price is less than 50% of the
       position. Some restrictions can be placed on aggregate
       functions in RXL queries, but they can be used freely in retail         price; 2) count the number of “defective” reports for a
                                                                         product; and 3) compute minimum and maximum cost of
       XML-QL queries.                                                55 outerwear Stock. AS these queries might Suggest, the reseller
          When an RXL query is evaluated, the underlying rela is typically interested only in a Small Subset of the informa
       tional engine does most of the processing. To attain this tion provided by the Suppliers. Those skilled in the art will
       result, the RXL query can be split into a collection of SQL recognize that these queries could be formulated as SQL
       queries, each of which produces a set of tuples. The SQL queries over the Supplier's relational database, but relational
       queries can be sent to the RDBMS, and their flat, sorted 60 Schemas can differ from Supplier to Supplier and may not be
       results can be merged in a single pass to construct the nested accessible by the reseller.
       XML output.
                                                                                             I. Architecture of SilkRoute
          An illustrative implementation of the present invention in
       electronic commerce, in which Suppliers provide product              FIG.  1   shows     an illustrative architecture of SilkRoute
       information to resellers, will be described. For their mutual 65 according to the present invention. SilkRoute 100, serves as
       benefit, Suppliers and resellers can agree to exchange data in middleware between a relational database server (RDBMS)
       a format that conforms to a particular DTD. An illustrative       110, and an application 120, accessing data over a distrib




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                                     S                                                                    6
       uted network, Such as the Web/Intranet 130. The distributed               <name>Sc.item</name>
       network may be a public or private network. According to              <Category>Sc.category.</category>
       the invention, the database administrator Starts by writing a         <retail->Sc.-price-/retail->
       view query that defines the XML virtual view of the data              </Product>
       base. In a preferred implementation of the present invention, 5 Given a database like that in the Supplier's Schema, the
       the view query is an RXL query. The View query is typically query can produce an XML fragment like the following:
       complex, because it transforms the relational data into a          <product><name> . . . </name><category> . . .
       deeply nested XML view. The resulting view query is                   </category><retail>. . . </retaild </product>
       Virtual, meaning that it is not evaluated, but kept in Source      <product><name> . . . </name><category> . . .
       code.                                                                 </category><retail> . . . </retail></product>
          Typically, applications contact SilkRoute 100, to request A root element is missing; later it will be explained how to
       data. An application 120, only “sees the virtual XML view, add one.
       not the underlying relational database. To access the data,        AS in SQL, the from clause declares variables that iterate
       the application 120, can formulate a user query in XML-QL over tables. Variable names start with a S. In this example,
       over the virtual view and send it to SilkRoute 100. Together, 15
                                                                        Sc is a tuple variable that iterates over the Clothing table.
       the view query (e.g., RXL View query) and the user query            The where clause contains zero or more filters (Boolean
       (e.g., XML-QL user query) can be passed to the query                predicates) over column expressions. The column expres
       composer module 102, in SilkRoute 100. The query                    sion Sc.item refers to the item attribute value of Sc and in
       composer module 102, computes the composition and pro        this case, requires that it equal the String “outerwear. The
       duces a new view query (e.g., RXL query), called the         construct clause specifies the XML value, called an XML
       executable query. The answer to the executable query typi template, in terms of the bound column expressions.
       cally includes only a Small fragment of the database, e.g.,     RXL has three powerful features that make it possible to
       one data item, a Small Set of data items, or an aggregate create arbitrarily complex XML Structures: nested queries,
       value. The result of SilkRoute 100, is an XML document, as   Skolem functions, and block Structure. An example of a
       Specified by the user query (e.g., XML-QL user query). 25 nested query is:
          Once computed, the executable query is passed to the
       translator 104, which partitions the executable query into a
       data-extraction part, e.g., one or more SQL queries, and an
       XML-construction part, e.g., an XML template. The trans construct     <views {
                                                                        from Clothing Sc
       lator 104, also may take as an input a description of the        construct <products
       relational Schema and uses the relational Schema to perform                <name>Sc.item</name>
       Syntax checking of the RXL query (e.g., to ensure that the                 { from Problems Sp
       relations named in the RXL query exist in the relational                       where Sp-pid = Sc.cid
                                                                                       construct <reports.Sp.comments</reports
       database) and to determine the capabilities of the SQL 35
       dialect used by the relational database (e.g., does the SQL           </products
       dialect Support inner joins?).                              } </views
         Until now, SilkRoute 100, has manipulated only query
       Source code, but no data. At this point, the data extraction        The Outer query has no from or where clauses, only a
       part (e.g., SQL queries) is sent to the RDBMS server 110, <construct> clause for the root element <views. The first
       which returns one tuple stream per each query (e.g., SQL 40 Sub-query builds one <product> element for each row in
       query) in the data extraction part. The XML generator Clothing. Its inner Sub-query creates Zero or more <reportd
       module 106, merges the tuple streams with the XML Sub-elements, one for each report associated with that prod
       construction part and produces the XML document, which is uct. Those skilled in the art and familiar with SOL will
       then returned to the application 120.                          45
                                                                         recognize this as a left-outer join of Clothing with Problems
          This scenario is probably the most common use of Silk followed by a group by on Clothing.
       Route. However those skilled in the art will recognize that         Skolem functions allow the way elements are grouped to
       minor changes to the information flow in FIG. 1 can permit be controlled. Recall that in XML an attribute with type ID
       other Scenarios. For example, the data administrator may contains a value that uniquely identifies the element in the
       export the entire database as one large XML document by 50 document, i.e., a key. In RXL, the distinguished attribute ID
       materializing the view query. This can be done by passing always has type ID, and its value is a Skolem term, which
       the view query directly to the translator. In another Scenario, is used to control grouping and element creation. For
       the result of query composition could be kept Virtual for later example, in the following:
       composition with other user queries. This is useful, for            from Clothing Sc
       example, when one wants to define a new XML view from 55 construct<category ID = Cat (Sc. category) name =
       an existing composed view.                                             Sc.category>
       A. The View Query: RXL                                                 <product>Sc.item</product>
          Next, RXL (Relational to XML transformation Language)               </category>
       is described. RXLessentially combines the extraction part of Cat is a Skolem function and Cat (Sc.category) is a Skolem
       SQL, i.e., a from and a where clause (possibly followed by 60 term whose meaning is that only one <category>element
       Sort by and/or group by clauses) with the construction part exists for every value of Sc.category, and it includes all
       of XML-QL, i.e., the construct clause.                            products in that category:
          AS a first example, consider this RXL query, which               <category><product>p 1.</product><product>p2</
       defines a fragment of an XML view:                                     product></category>
          from Clothing Sc                                            65   <category><product>p3</product><product>p4</
          where Sc.category="outerwear                                        product></category>
          construct <product>




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       Without the ID. attribute and its Skolem term, the query
       would create one <category> element for each row in                                          -continued
       Clothing:
          <category><product>p 1</product></category>                13.         { from SalePrice $s
                                                                     14.           where $s.pid = Sc.pid
          <category><product>p2</product></category> . . .           15.
                                                                     16.
                                                                                   construct
                                                                                   <sale ID=Sale(Sc.pid,Ss.pid,Ss. price)>Ss. price</retails
          When Skolem terms are missing, RXL introduces them 17.
       automatically. Since Skolem terms could be used to define     18.         { from Problems Sp
       arbitrary graphs, RXL enforces Semantic constraints that      19.           where Sp-pid = Scipid
       guarantee a view always defines a tree, and therefore, a      2O.           construct
       well-formed XML document. For example, the Skolem term 21.                  <report code=Sp.code ID=
                                                                                   Prob(Sc.pid.Sp.pid.Sp.code.Sp.comments)>
       of a Sub-element must include all the variables of its the    22.                 Sp.comments
       parent element.                                               23.           </reports
          Finally, the block structure allows RXL to construct parts 24.
       of complex elements independently. The query below shows 25.              </products
       an illustrative multi-block RXL View query containing two 15 26.     }
                                                                     27. </suppliers
       blocks.
             COnStruct
               <view ID=View()>                                                             Lines 1, 2, and 26 create the root <Supplier> element.
                 {from Clothing Sc                                                        Notice that the Skolem term Supp() as no variables,
                 construct-product ID=Prod(Sc.item)>                                      meaning that one <Suppliers element is created. The Outer
                    <name ID=Name(Sc.item)>Sc.item</name>                                 most clause constructs the top-level element Supplier and its
                    <Price ID=Price(Sc.item, Sc.-price)>Sc. price.</                      company child element. The first nested clause (lines 4-26)
                            price>                                                        contains the query fragment described above, which con
                     </product>}                                                          Structs one product element for each “outerwear item.
                                                                                          Within this clause, the nested clause (lines 13-17) expresses
                  {from Clearance Sd                                                 25
                                                                                          a join between the Clothing and Sale Price tables and
                  where Sd.disc >50,                                                      constructs a Sale element with the products Sale price nested
                  construct <product ID=Prod(Sd.prodname)>                                within the outer product element. The last nested clause
                     <name ID=Name(Sd.prodname)>Sd.prodname</                             (lines 18–24) expresses a join between the Clothing and
                                  C>                                                    Problem tables and constructs one report element containing
                       <discount ID=Discount(Sd.prodname, Sd.disc)                      the problem code and customer's comments, the report
                         >Sd.disc-/discountd                                            elements are also nested within the outer product element.
                       </Products                                                       Notice that the Skolem term of product guarantees that all
             </views                                                                    product elements. With the same identifier are grouped
       The first block creates elements of the form:                                    together. Usually Skolem terms can be inferred
                                                                                     35 automatically, but they have been included explicitly,
                                                                                        because they are relevant to query composition described
       for each product name in Clothing. The Second block creates                        herein.
       elements of the form:                                            B. The User Query: XML-QL
          <product><name>n-/name><discount>d-/discount></                  Applications do not access the relational data directly, but
             product>                                                40 through the XML view. To do so, applications provide user
       for each product name in Clearance. It is to be assumed that queries in XML-QL, a query language specifically designed
       Clearance(prodname, disc) is part of the Supplier's Schema. for XML, XML-QL queries contain a where clause followed
       When the same product name occurs both in Clothing and by a construct clause. The where clause contains an arbitrary
                                                                        number of XML patterns and filters. The construct clause is
       Clearance, then the two elements will have the same ID key identical       to that in RXL.
       and can be merged into:                                       45
                                                                           In the example described herein, the reseller can retrieve
          <product > < name > n </name > < p rice > p < /               all products with a Sale price less than half of the retail price
             price><discount>d-/discount></product>                     using the XML-QL user query (U) below:
       Those skilled in the art and familiar with SQL will recognize
       this as an outer join.
          The below code contains the complete view query, RXL 50 1. construct
       view query (V), for the Supplier relational Schema example                         2. <results> {
       described above.                                                                   3.        where <suppliers
                                                                                          4.                 <company>Scompany</company>
                                                                                          5.            <products
                                                                                     55
              construct                                                                   7.              <retails Sretails/retails
              <supplier ID=Supp()>                                                        8.              <sales Ssale</sales
                   <company ID=Comp ()>"Acme Clothing'</company>                          9.            </products
                   {                                                                      10.         </suppliers in "http://acme.com/products.xml,
                   from Clothing Sc                                                       11.         Ssale < 0.5 * Sretail
                   where Sc.category = "outerwear                                    60
                                                                                          12.   construct
                   construct                                                              13.           <result ID=Result(Scompany)>
                       <product ID=Prod(Sc.pid)>                                          14.              <suppliers Scompany</suppliers
                       <name ID=Name(Scipid.Sc.item)>Sc.item</name>                       15.              <name>Sname</name>
        O.                <category ID=                                                   16.           </results
                          Cat (Sc.pid,Sc.category)>Sc.category</category>                 17. } </results>
                          <descriptionID=
                          Desc(Sc.pid,Sc.description)>Sc.description</description>   65
       12.                <retail ID=Retail (Sc.pid,Sc. price)>Sc.-price</retails         The where clause includes a pattern (lines 3-10) and a filter
                                                                                          (line 11). A pattern's syntax is similar to that of XML data,




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       but also may contain variables, whose names start with S.                needed to contact the Source: the protocol (e.g. JDBC), the
       Filters are similar to RXL (and SQL). The meaning of a                   connection String, and a Source-specific query driver. The
       query is as follows. First, all variables in the where clause            driver translates RXL expressions into the Source's query
       are bound in all possible ways to the contents of elements in            language, which is typically a dialect of SQL. Although one
       the XML document. For each such binding, the construct                   skilled in the art will appreciate that other query languages
       clause constructs an XML value. Grouping is expressed by                 can be Supported. For example, the executable RXL query
       Skolem terms in the construct clause. In this example, the               (C) is translated into the following SQL query:
       construct clause produces one result element for each value                Select c.pid as pid, c.item as item
       of Scompany. Each result element contains the Supplier's                   from Clothing c, SalePrices
       name and a list of name elements containing the product                    where c.category="outerwear,
             CS.                                                                     c.pid=Spid,
          In this example, the answer to the user query includes a                   S. price.<0.5*c.retail
       Small fraction of the relational database, i.e., only those                Sort by c.pid
       products that are heavily discounted.                                    and into the XML template:
       C. The Query Composer                                                      <results>
          The query composer module 102, of SilkRoute 100, takes 15                  <result ID=Result(“Acme Clothing”)>
       a user query and the RXL View query and generates a new                         <Supplierd"Acme Clothing'</Suppliers
       RXL query, which is equivalent to the user query evaluated                      <name ID=Name(Spid, Sitem)>Sitem</name>
       on the materialized view. In the example described herein,                    </resulted
       the view query is the RXL view query (V) above, the user                   </resultS>
       query is the XML-QL user query (U), and the composed                   where the variables Spid and Sitem refer to the attributes pid
       query, RXL query (C) is shown below.                                   and item in the SQL query's Select clause; the template
                                                                              generation is described in more detail in Section II, part A
                                                                              below. After translation, the SQL query is sent to the
       construct                                                           25 relational engine, RDBMS 110, and the resulting tuple
            <results.>                                                        stream is fed into the XML generator 106, which produces
       { from Clothing Sc, SalePrice $s                                       the XML output.
           where Sc.category = "outerwear',
                Sc.pid = $s.pid,                                                 In this example, the translation requires only one SQL
                $s.price < 0.5 * Sc.retail                                    query. In general, there may be Several ways to translate a
           construct
                <result ID=Result(“Acme Clothing)>
                                                                              complex RXL query into one or more SQL queries and to
                     <suppliers"Acme Clothing'</suppliers                     merge tuple Streams into the XML result. Choosing an
                     <name ID=Name(Scipid, Sc.item)>Sc.item</name>            efficient evaluation Strategy may be important when the
            </result                                                          RXL query returns a large result, e.g., if the entire XML
                                                                                View is materialized. SilkRoute can have one or more
       </results.>                                                         35   evaluation Strategies, which can generate one SQL query for
                                                                                each disjunct of an RXL Sub-query, which must be in
       The composed query combines fragments of the View query disjunctive-normal form (DNF). Each SQL query has a sort
       and user query. Those fragments from the user query are by clause, making it possible for the XML generator 106, to
       highlighted. The composed query extracts data from the merg the queries into an XML document in a Single pass.
       relational database in the same way as the view query. It also 40 5. Alternative Approaches
       includes the user filter SS. price.<0.5Sc.retail and structures       The above example of the present invention has been
       the result as in the user query. The details of the composition described in terms of a general approach for exporting
       are Subtle, and a complete description of the composition relational data into XML. Other approaches are possible,
       algorithm is described later herein.                               and in Some cases, may be more desirable.
          The composed query is referred to as executable, because 45 Currently, the most widely used Web interfaces to rela
       it is typically translated into SQL queries and Sent to the tional databases are HTML forms with CGI scripts. A script
       relational database engine. The answer of the executable can translate user inputs into SQL queries, and the query
       query is quite Small-the same as that of the user query. In answers can be rendered in HTML. The answers could be
       general, it is more efficient to execute the composed query, generated just as easily in XML. Forms interfaces may be
       instead of materializing the view query, because composed 50 appropriate for casual users, but may not be appropriate for
       queries often contain constraints on Scalar values that can be data exchange between applications, because they limit the
       evaluated using indexes in the relational database. Such application to only those queries that are predetermined by
       indices are of little or no use when evaluating a view query. the form interface. Aggregate queries, for example, are
       For example, consider a user query that Specifies the con rarely offered by form interfaces.
       dition: S.S. price between 80 and 100. This condition is 55 In another alternative implementation of the invention,
       propagated into the executable query, and then into the SQL the data provider can either pre-compute the materialized
       query, and can be evaluated efficiently if an indeX exists on View or compute the view on demand whenever requested
       price. In contrast, an indeX on price is useleSS when mate by an application. This alternative can be feasible when the
       rializing the view query directly.                                 XML view is small and the application needs to load the
       D. Translator and XML Generator                                 60 entire XML view in memory, e.g., using the DOM
          The translator 104, takes an RXL query and decomposes (document object module defined by the World Wide Web
       it into one or more SQL queries and an XML template. The Consortium DOM Recommendation) interface. However,
       SQL queries are executed by the RDBMS 110, server or pre-computed views are not dynamic (i.e., their data can
       engine, and their flat results (streams of tuples) are converted         become Stale) and are not acceptable when data freshness is
       into XML by the XML generator 106.                            65 critical.
          The translator 104, also takes a source description, which       Another alternative implementation of the present inven
       is an XML document Specifying Systems information tion uses a native XML database engine, which can Store




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       XML data and proceSS queries in Some XML query lan
       guage. XML engines will not replace relational databases,                                               -continued
       but a high-performance XML engine might be appropriate to                           ID=Prob(Sc.pid,Sp.pid,Sp.code.Sp.comments)>
       use in data eXchange. For example, one could materialize an                                 Sp.comments
       XML view using SilkRoute and store the result in an XML                                  </reports
       engine running XML-QL, thus avoiding the query compo
       sition cost done in SilkRoute. However, XML engines may                             </products
       not match the performance of commercial SQL engines </suppliers
       anytime Soon. In addition, this approach can Suffer from data
       Staleness, and incur a high space cost (e.g., for disk space)
       because it duplicates the entire data in XML.                              That is, the RXL view query (V) is shown with patterns from
                                                                                  the XML-QL user query (U) highlighted. Once the matching
                               II. Query Composition                              is done, the composed query (C) can be constructed in a
                                                                                  Second step, as follows. The construct clause of the com
          In this Section, the query composition algorithm is 15 posed query (C) is the same as the construct clause of the
       described. AS discussed previously, an RXL query, Such as XML-QL user query (U), modulo variable renaming. The
       V, takes a relational database as an input and returns an XML from and where clauses of the composed query (C) include
       document as an output. The XML-QL user query, Such as U, both of the “relevant” from and where clauses in the view
       which is written against V, takes an XML document as an query (V) and all the where filter conditions in the user query
       input and returns an XML document. For any database D, (U), modulo variable renaming. This completes the con
       the result of U can be computed by first materializing V(D), Struction of composed query (C). In this example, the
       denoted as XMLD, and then computing U(XMLD). The “relevant ' from and where clauses are:
       query composition problem is to construct an equivalent                       from Clothing Sc, SalePrice SS
       RXL query C, where C=U V. In other words, it would be                         where Sc.category="outerwear, SS-pid=Sc.pid
       desirable to construct an RXL query C that is guaranteed to
       yield the same result as U and V for any database D, that is, 25 and             the where filter condition in user query (U) is
       C(D)=U(V(D)). C takes as an input a relational database and Ssale.<0.5*Sretail
                                                                                  able renaming:
                                                                                                         which becomes the following after vari
       returns an XML document. With C, the construction of the
       intermediate result XMLD is skipped. As an example, RXL                       where SS. price.<0.5*Sc.retail
       view query (V), and XML-QL user query (U) can be used Inspection of the composed RXL query (C) shown above
       with the result of the composition, C, being composed RXL indicated that the from and where clauses, together, form the
       query (C).                                                                 from and where clauses of the composed query (C).
          Before describing the details, a brief intuitive description according     FIG. 2 depicts the architecture of query composition
       is given. The key observation is that all XML components implementsto the                      present invention. The pattern matcher 140,
                                                                                                  a first Step, which involves evaluating user
       (tags, attributes, #PCDATA) present in XMLD are explicitly queries (U) on                      view query (V) templates. During the first
       mentioned in the construct clause(s) of RXL view query (V). 35
       When XML-QL user query (U) is evaluated on XMLD, its Step,                        the user query (U) patterns are matched with View
                                                                                  query (V) templates. The result is a Solutions relation, R, in
       patterns are matched with these components. The key idea is which                  each tuple represents one match. Multiple matches
       then to evaluate XML-QL user query (U) on the templates may occur                           if the patterns contain alternation, e.g.,
       of RXL view query (V) directly, without constructing <company organization>,                               or Kleene-star operators, e.g.,
       XMLD. During this evaluation only the patterns are con 40 <*.suppliers, or tag variables                          <Selma. A rewriter 150,
       sidered and not the filters occurring in user query (U). In this carriers out a Second Step by taking
       example, user query (U) has a unique pattern that mentions (the from and where of the view querythe                         remaining clauses
                                                                                                                               (V) and the construct
       <Suppliers, <company >, <product>, <name>, <retaild, and
       <Sale> with a particular nesting, and all these tags also occur of the usertuple        query (U)) and the relation R, and rewriting each
       in the templates of View query (V) under the same nesting. 45 solution                       into one RXL clause. The result is the com
       RXL view query (V) is shown again below, this time after posed                     query C.
                                                                                     The illustrative query composition technique can be
       the matching, with the matched tags being bolded.                          Viewed as an example of partial evaluation, where the
                                                                                  patterns are evaluated at composition time (a.k.a. compile
                                                                                  time) on view query (V) templates, and the filters and
       construct                                                               50 constructors are evaluated at run time when the new RXL
       <supplier ID=Supp()>                                                       view is evaluated. Section II, parts A-D of the description
            <company ID=CompO>"Acme Clothing'</company>                           describe the internal representation of view and user queries
            {                                                                     and provide a detailed description of an illustrative compo
              from Clothing Sc                                                    Sition algorithm according to the present invention. A
              where Sc.category = "outerwear
              construct                                                        55 pseudo code version of the algorithm appears in Section III.
                 <product ID=Prod(Sc.pid)>                                        A. Step 1: Pattern Matching
                 <name ID=Name(Scipid.Sc.item)>Sc.item</name>                        In Step 1, the solutions relation R that contains all
                 <category ID=Cat(Sc.pid,Sc.category)>Sc.category</               matchings of user query (U) patterns with View query (V)
                 Category>
                 <retail ID=Retail (Sc.pid,Sc-price)>Sc.-price</retails           templates can be constructed.
                    { from SalePrice $s                                              1. Construct the View Tree.
                                                                               60
                      where $s.pid = Scipid                                          For the composition algorithm, the view query V may be
                      construct
                         <sale ID=Sale(Sc.pid,Ss.pid,Ss.price)>$s.price</sales
                                                                                  represented by a data structure called a view tree, which
                                                                                  includes a global template and a Set of datalog rules. The
                    { from Problems Sp                                            global template can be obtained by merging all view query
                      where Sp.pid = Scipid                                       (V) templates from all its construct clauses. Nodes from two
                      construct                                                65 different templates may be merged if and only if they have
                    <report code=Sp.code                                        the same Skolem function. Hence, each Skolem function
                                                                                occurs exactly once in the view tree. The datalog rules are




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       non-recursive. Their heads are the Skolem functions names,                 can be introduced, with one variable for the ID attribute of
       and their bodies include relation names and filters. The                   each element in the pattern. In this example, U has a Single
       datalog rules can be constructed as follows. For each occur                pattern and Six new variables are added, one temporary
       rence of a Skolem function F in a view query (V), one rule                 variable for each element in the pattern, as shown below.
       is constructed of the form F(x, y, ...):-body, where body is                  <supplier ID=St1>
       the conjunction of all from and where clauses in the Scope                      <company ID=St2>Scompany.</company>
       where F occurs. When a rule is associated with a Skolem                            <product ID=St3>
       function, then that rule guards the Skolem function and its                           <name ID=StAZSname</name>
       corresponding XML element. In both the template and                                   <retail ID=St5>Sretail&/retails
       datalog rules, the tuple variables used in RXL can be                                 <sale ID=St6>Ssale.</sale>
       replaced by column variables.                                                     </product>
          Below is the template of the view tree for the RXL query                  </Supplierd
       on the left and the datalog rules of the view tree for the RXL             The necessity of these variables and how to handle multi
       query on the right according to the illustrative example of                block user queries are described in Section II, part A(3)
       the present invention described herein.                                    below.



       <supplier ID=Supp()>                            Supp() :- true
         <company ID=Comp()>Acme Clothing</company> Comp() :- true
         <product ID=Prod(Scpid)>                      Prod(Scpid):- Clothing(Scpid, , Scategory, , ),
                                                                          Scategory = "outerwear
            <name ID=Name(Scpid,Scitem)>               Name(Scpid, Scitem) :- Clothing(Scpid, Scitem, Scategory, , ),
               Scitem                                                              Scategory = "outerwear
            </name>
            <category ID=Cat (Scpid,Sccategory)>       Cat(Sepid, ScCategory) :- Clothing(Scpid, , Scategory, , ),
               $ccategory                                                          Scategory = "outerwear
            </category>
            <retail ID=Retail (Scpid,Scprice)>         Retail (Scpid, Scprice) :- Clothing(Scpid, , Scategory, Scprice),
               Scprice                                                             Scategory = "outerwear
            </retails
            <sale ID=Sale(Scpid,Sspid,Ssprice)>        Sale(Scpid, $spid, $sprice) :-
               $sprice                                    Clothing(Scpid, , Scategory, , ), Scategory = "outerwear',
            <sales                                        SalePrice($spid, $sprice), Scpid = $spid
            <report ID=Rep(Scpid,Sppid,Spcode,Spcmnts) RepScpid, Sppid, Spcode, Spcmints) :-
               code=SPcode>                               Clothing(Scpid, , Scategory, , ), Scategory = "outerwear',
                       Spcmnts                            Problems(Sppid, Spcode, Spcmnts), Scpid = $ppid
                  </reports
                </products
             </suppliers


       The unique Supplier element is guarded by the rule Supp():-      Next, US patterns on V’s template are evaluated in the
       true, which is always true, because no predicate expression 40 Standard way of evaluating patterns on a tree. In general,
       guards the element's creation. The retail elements are there may be Zero, one, or more results. The results can be
       guarded by the rule:
          Retail(Scpid, Scprice):-Clothing(Scpid , Scategory , represented as a table R, with one column for each variable
            Scprice), Scategory="outerwear                                        in U, and one row for each result. The values in the table are
       which means that one retail element is created for each value 45 #PCDATA, Skolem terms, variables, tag names, attribute
       of cpid and cprice that Satisfies the table expression on the              values, and attribute names, which occur in V's template. In
       right-hand Side. There is only one datalog rule for each                   this example, the Step results in the following table R:


                                        St1      St2      Scompany St3             Sta.        Sname    St5          Sretail   Stó       Ssale
                                        Supp() Comp() Acme           Prod(Scpid) Name(Scpid, Scitem Retail (Scpid, Scprice Sale(Scpid,   $sprice
                                                      Clothing                   Scprice)           Scprice)               $spid,
                                                                                                                           $sprice)


       Skolem function, because each function occurs once in the                    The column names correspond to the variables in Us
       query view (V).                                               Single pattern shown above. The Single row in R means that
          2. Evaluate User View (U) on the View Tree.                there exists only one matching of U's pattern with V’s
          Next, the patterns of user view (U) can be matched with 60 template. The row specifies that U's variable Sname is
       the template of view query (V).                               bound to Scitem in V, the variable St3 is bound to the Skolem
          To Simplify presentation, it is assumed that the user view term Prod(Scpid), and the variable Scompany is bound to the
       (U) includes a single block as represented by Equation 1:     #PCDATA Acme Clothing.
                                                                                  B. Step 2: Query Rewriting
              U=construct <elms where P W construct T} </elms            (1) 65     In Step 2, the table R can be used to construct the
       where T denotes the template, P denotes all patterns, and W                composed query C. Each row in R represents one match, and
       denotes all filters. New, temporary variables in US patterns               composed query C is the union of all possible matches. In




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       particular, composed query C includes Several parallel                    temporary variables St1 ... St2. The new row is So, which
       blocks, which denote a union in RXL. In each block, the                   maps US variables to variables, constants, and Skolem
       from and where clauses contain the “relevant datalog rules, terms.
       that is the rules for the Skolem functions in the correspond     When there is more than one datalog rule per Skolem
       ing row. The construct clause of the block contains the 5 function, the resulting datalog program is converted into
       template of the user view U. Recall that U includes a single
       block (Eq. 1), and that T denotes its template, Pits patterns, disjunctive  normal form, i.e., a disjunction of multiple
                                                                      conjunctive datalog rules, before generating the RXL
       and W its filters. Let the rows in R be r . . . r. Then C blockS.       For each conjunctive rule, the construction above
       includes Several parallel blockS:
          C=construct{<elmd{B} . . . {B} </elmd}                      can be applied to obtain one block and take the union of all
       with one or more blockS corresponding to each row r. In the Such blocks. In this case, more than one block for one row
       next section, how blocks corresponding to one row, r, in R r can be obtained.
       are constructed is described.                                     In this example, table R has one row that contains the
         1. Construct One Block                                                  Skolem terms Supp(), Comp(), Prod(Scpid), Name(Scpid,
         To construct the from and where clauses of one block, the 15 Scitem), Retail(Scpid, Scprice), and Sale(Scpid, SSpid,
       clauses are represented as one datalog rule. Then, the rule is Ssprice). Their corresponding datalog rules are shown in the
       converted into a from-where clause. Let F. . . . F., be the view tree for the RXL query in section 11, part A(1) above.
       Skolem functions that occur in the row r. Recall that the the  Next, the Substitutions S1, . . . , S are computed Such that
       View tree associates one or more datalog rules to each variables    rules have disjoint variables with the exception of
       Skolem function. ASSume that there is a unique datalog rule 20 example, thethat have parent/child relationships. In this
       for each Skolem function:                                                     variable St3 is the parent of variables StA, St5,
         F:-body . . . F:-body.
                                                                                 Stó; see the pattern in section II, part A(2) above. Therefore
                                                                                 the Skolem term Prod(Scpid) shares the variable Scpid with
         The block's construct clause is S(T) where So is a                      that in Name (Scpid, Scitem), Retail (Scpid, Scprice), and
       variable substitution defined below. For each datalog rule F,             Sale (Scpid, Sspid, Ssprice). Otherwise, all variables must be
       one variable substitution S is applied. The body of the new               distinct. The modified rules are:



                                                Supp()                      :-    true
                                                Comp()                      :-    true
                                                Prod(Scpid)                 :- Clothing(Scpid, , Scategory 1, , ), Scategory1 = "outerwear
                                                Name(Scpid, Scitem)         :- Clothing(Scpid, Scitem, Scategory2, , ), Scategory2 = "outerwear
                                                Retail (Scpid, Scprice)     :- Clothing(Scpid, , Scategory3,       Scprice), Scategory3 = "Outerwear
                                                Sale(Scpid, $spid, $sprice) :- Clothing(Scpid, , Scategory4, , ) Scategory4 = "outerwear',
                                                                               SalePrice($spid, $sprice), Scpid = $spid


       datalog rule is the union of all bodies after variable                    The substitution S is obtained directly from the table R, by
       substitution, plus So(W). Thus, the new rule has the form:     dropping all columns corresponding to the new variables
          Q(So(X), So(y), . . . ):-So(W), S (body), . . . S(body.) 40 Stl, . . . , Stó:
            where x, y, ... are the variables in U's template T. Next,
            Q is minimized, and rewritten as a from-where clause:
            all relation names appearing in the from clause, and all                                             S =
            filters appearing in the where clause. This completes 45                 Scompany              Sname         Sretail          Ssale
            the construction of one block.
         2. Variable Substitutions                                                  Acme Clothing          Scitem        Scprice          $price
          Next, the Substitutions of So and S...S. are defined. For
       all the datalog rules F, ... F, the Substitutions S. . . . S., 50            The template T of U is in the user query shown in section
       are constructed So that the expressions S (body) . . .                    1, part B. The filter W of U is Ssale <0.5* Sretail. Only the
       S(body) all have distinct variables, with one exception.                  variables Scompany and Sname occur in T. So So(Scompany)
       For every two columns t , t in R, where the variable                      and So(Sname) need to be included in the rule's head;
       tcorresponds to an element that is the parent oft's element,              Scompany, however, is a constant, therefore the rule
       all variables in S,(F(.. )) can be shared with S.(F.(...)).               becomes:



                                                       Q(Scitem) :- Clothing(Scpid, , Scategory1, , ), Scategory1 = "outerwear',
                                                                    Clothing(Scpid, Scitem, Scategory2, , ), Scategory2 = "outerwear,
                                                                    Clothing(Scpid, , Scategory3, , Scprice), Scategory3 = "outerwear',
                                                                    Clothing(Scpid, , Scategory4, , ), Scategory4 = "outerwear, SalePrice($spid,
                                                                    $sprice), Scpid = $spid,
                                                                    $sprice < 0.5 * cprice

                                                                          65
       To compute So, the Substitutions S. . . S. are applied to the             The last line is So(W). Minimizing Q, the following equiva
       entire row r, and drop all columns in r, that correspond to the           lent query is obtained:




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       Q(Scitem) :- Clothing(Scpid, , Scategory3, , Scprice), Scategory3 = "outerwear',
                    SalePrice($spid, $sprice), Scpid = $spid,
                    $sprice < 0.5 * cprice


       Finally, the rule can be converted into from and where                          The regular expression Supplier product.(retailsale) matches
       clauses, and a construct clause can be added whose template                     a retail or a Sale element nested within a Supplier and a
       is S(T):                                                                        product element. It is analogous to the XPath expression
                                                                                       /supplier/product /retailsale. There are two matches of U
                                                                                       with V, which produce two rows in R:
       from         Clothing(Scpid, , Scategory3,     Scprice),
                    SalePrice($spid, $sprice)
       where        Scategory3 = “outerwear,                                      15
                 Scpid = $spid, $sprice < 0.5 * cprice                                 St1           St2           St3                           Sval
       construct <result ID= Result(“Acme Clothing)>
                    <suppliers Acme Clothing </suppliers                               Supp()        Prod(Scpid)   Retail (Scpid, Scprice)       Scprice
                        <name> Scitem </name>                                          Supp()        Prod(Scpid)   Sale(Scpid, $spid, $sprice)   $sprice
                     </results
                                                                     The temporary variables St1, St2, St3, are for supplier,
       Lastly, column variables are replaced by tuple variables, and product, and retailprice, respectively. The composed query
       the Single-block query C shown in Section I, part C can be C has two blocks:
       obtained.                                                         C=construct <results>{B1}{B2} </results>
       C. Other Exemplary Implementations                            The relevant datalog rules for the first row are those for
          The above-described exemplary implementation of the 25 Supp, Prod and Retail of view query described in section II,
       present invention illustrates a simple example of query part A(1). No variables are renamed, because St2 is the
       composition. Below, Several other exemplary implementa parent of St3. The generated datalog rule after minimization
       tions of the present invention that illustrate more complex    S.
       cases are described.                                              Q(Scprice):-Clothing(Scpid, , Scategory, Scprice),
          1. View Tree for Multi-block Query                               Scategory="outerwear”
          Consider the two block RXL query in section I, part A.     and it produces C's first block BI:
       Below, on the left side is the view tree template for the two     B1=from Clothing Sc
       block query and on the right Side is the datalog for the two        where Sc.category="outerwear
       block query.                                                        construct <price>Sc-price.</price>


       <view ID=View()>                                 View()         :- true
         <product ID=Prod(Sname)>                       Prod(Sname) :- Clothing($name, )
                                                        Prod(Sname) :- Clearance($name, Sddisc), Sddisc > 50
              <name ID=Name(Sname)>                     Name($name) :- Clothing($name, )
                Sname                                   Name($name) :- Clearance($name, Sddisc), Sddisc > 50
              </name>
              <Price ID=Price($name, Scprice)>          Price(Sname,Scprice) :- Clothing(Sname, Scprice)
                Scprice
              </price>
              <discount ID=Discount($name, Sddisc)>     Discount($name, Sddisc) :- Clearance($name, Sddisc),
                Sddisc                                                           Sddisc > 50
              </discounts
         </products
       <fviews

                                                                                  50
       In the RXL query, the Skolem functions Prod and Name                            The relevant datalog rules for the second row are those for
       occur twice. In the View tree, each function has two corre                      Supp, Prod, and Sale. AS before, no variables are renamed,
       sponding datalog rules, but in the template, they occur once.                   and the datalog rule is:
         2. Multiple Rows                                            55                      Q(Sc price):-Clothing(Scpid, , Scategory, , ,
         In general, R may contain multiple rows. To illustrate R                              Scategory="outerwear”, Sale Price(Sspid, Ssprice),
       with multiple rows, the query V described and shown in                                  Scpid=Sspid
       Section II, part A(1) is employed. R is composed with the
       following XML-QL user query U":                                               which produces C's second block B2:
                                                                                  60    B2=from Clothing Sc, SalePrice SS
                                                                                          where Sc.category="outerwear, Sc.pid=SS.pid
       construct <results> {                                                              construct <price>Sc.pid-/price>
            where <supplier-product. (retail sale)>$val</> in                          3. Adding Template Variables
            "http://acme.com/products.xml                                              The temporary variables St1, St2, etc. added to Us
            construct <price>Sval</price>
                                                                                  65 patterns play an important role, as revealed by the next
                                                                                     example. The query V, written directly with column
                                                                                       variables, is:




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                                                                           and the composed query C, after query minimization, is:
                                                                             construct <results> from T(SX1, Sy1), T(SX2, Sy2)
                                                                               construct <resultd <Z1>Sy1<Z1><Z2>Sy2</Z2></
                                                                                   resulted
                                                                                </resultS>
                                                                             5. XML-OL Oueries. With Block Structure.
                                                                              In general, U may have Several blocks, both nested and
                                                                           parallel. For multi-block user queries, a different table R for
       and the two XML-QL queries U, U" can be considered:                 each block in U can be constructed, in the same way in


       U = construct <results.>{


                       } </results.>


       Both return pairs of <br> values, but the first query returns which the XML-QL query processor handles multiple
       pairs where both <br>'s are in the same <ad element. Without blockS. Tables corresponding to parallel blocks are indepen
       temporary variables in US patterns, the relation R would be dent; for nested blocks, there is a distinct inner table that
       the same for U and U". After introducing the new variables, corresponds to each row in the outer table. The composed
       the two relations R have different column names, and as
       expected, they produce two distinct composed queries.           25 query C follows the same block Structure, except that one
          4. Renaming variables in Datalog Rules                          block in U may generate multiple parallel blocks in C, as
          Continuing with the previous example, the need for the described above early in this Section.
       Substitutions S, S., . . . First, V's view tree is constructed:       6. Query Minimization
                                                                             Query minimization eliminates redundancies in queries,
                                                                          Such as duplicate conditions. Query minimization can be
                                                                          expensive, because it is NP-complete. That is, the complex
                                                                          ity of query minimization is exponential in the number of
                                                                          variable in the query. Commercial database Systems often do
                                                                          not perform minimization, because users typically do not
                                                                       35 write redundant queries. In SilkRoute, the composed query
                                                                          C can be generated automatically. One condition in a view
                                                                          query
       Next, the composition with U" is illustrated. Five temporary propagated   V may appear in multiple datalog rules, and, hence be
                                                                                       as multiple copies in the generated query C. To
       variables are added and US pattern becomes:                        avoid query minimization, one could trace these repetitions
                                                                       40 to the original RXL query, but care is needed to deal with
                                                                          variable renamings. For RXL queries with large parallel
                                                                          blocks, however, query minimization may be unavoidable.
                                                                          D. Aggregation Queries
                                                                             Briefly, it is described how aggregations in XML-QL
                                                                       45 queries can be “pushed       into composed RXL views and
          Matching the pattern with the template produces one row evaluated by the target RDBMS according to the present
       in R:                                                               invention. In both XML-QL and RXL, Skolem terms can be
                                                                        used to specify the values by which aggregate expressions
                                                                        are grouped.
       St1     St2     St3             Sz1        Sta.   St5         50    Suppose a reseller wants to count the total number of
                                                                        reports for each defective product. This can be expressed in
       HO                                                                  XML-OL as follows:
                                                                             where <supplier-product ID=Spidd
          Intuitively the variable Sy in the Sz1 column is different            <name>Sn-/>
       from Sy in the SZ2, column, because they match different 55              <reports-Sr-/>
       <br> elements, possibly in different <ad elements. This                  </> in "http://acme.com/products.xml
       distinction is made precise by the renaming Step. Thus, after         construct <product ID=F(Spid)>
       variable renamings, the five relevant datalog rules become:              <name ID=G(Spid, Sn)>Snk/>
                                                                                <totaldefects ID=H(Spid)>count(*)</>
                                                                      60     </>
                                                                           The Skolem term F(Spid) in <product ID=F(Spid)> asserts
                                                                           that all bindings for the variables Spid, Sn and Sr are grouped
                                                                           by Spid’s value. Similarly, the Skolem term H(Spid) speci
                                                                           fies the grouping attributes for the aggregate function count
                                                                      65   (*), which counts the total number of bindings. This idea is
                                                                           Similar to the GROUP BY construct in SOL. XML-OL and
                                                                           RXL's Semantics guarantee that only one element is pro




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       duced for each value of a Skolem term, e.g., one name
       element is emitted for each value of Sn.                                                                -continued
         A simple extension to datalog that accommodates aggre                                                            Element(Tag, Template)
       gate functions can be used. An example of a datalog rule that                                                      NestedQuery(XMLQL)
       can use a “generator to count values is:                                                                           NestedQuery(RXL)
         C(p, q, COUNT(*)):-R(p, q)
       Only the last argument in the head can be an aggregate                       Finally, a canonical pattern is represented by the head
       function; the other arguments specify the grouping                     variable (that occurs on the right-hand Side of in), a regular
       attributes. The meaning is that C contains the Set of triples          path expression over Strings, and the target variable (that
       (p, q, r) where r is the number of tuples in the group                 occurs in the body of an element):
       corresponding to values (p, q) in the relation R.                       Pattern:-Var, RegPathExpr, Var
         Using this composition algorithm, the XML-QL query                    In this example, each regular-path expression is one String
       above can be rewritten as:                                           atom, but in general, Strings can be combined with the
          from Clothing Sc, Problems Sp                                  15
                                                                            alternation (), concate nation (), and Kleene-star (*)
          where Sc.pid=Sp-pid                                               operators, Similar to those used in regular expressions.
                                                                               The composition function compose, as shown below,
          construct <product ID=F(Sc.pid)>                               takes two environments, which are lists of (variable, value)
            <name ID=G(Sc.pid, Sc.item)>Sc.item</>                       pairs. Shown below is an illustrative top-level compose
            <totaldefects ID=H(Sc.pid)>count(*)</>                       function for a composition algorithm:
            </product>
       Note that the aggregate function can be "pushed into the
       RXL view. When this view is materialized, the aggregation             // Top-level invocation of compose function
       can be evaluated by the relational engine. Significantly, this           X env = new (“Sviewtree', Root()
       query can be evaluated efficiently, because commercial                   S = new
       database Systems are often highly optimized for aggregation    25        R block list = compose(X env, S, X block)
       queries.
                                                                                     fun compose(Env X env, VarMap S, XMLQL X block) :RXL {
                III. A Composition Algorithm-Pseudocode                                (X patterns, X Filters, X template) = decompose(X block);
                                                                              9.       // Get pairs of (parent, child) variables from XML-QL patterns
          In the formal description of the algorithm above, a nota            10.      X parent child vars = getHeadTargetMap(X patterns);
       tion for describing the types of values that are manipulated,          11.
       e.g., view trees, XML-QL blocks, are needed. Types are                 12.      // Evaluate pattern on view tree
       denoted by grammar rules, Such as the following:                       13.      R = eval Pattern(X patterns, X env);
                                                                              14.
                                                                              15.      ff Consider each potential solution
                                                                         35   16.      R blocks = new
                                                                              17.      for each r i in R {
               Node :-              Tag, Rule, Node                           18.          // Extend current environment with new variable bindings
               Rule :-              SkolemTerm, Condition                     19.          X env' = appendList(X env, r i);
               Condition :-         TableExpr(String, Var)                    2O.
                                    Filter(BoolExpr)                          21.          // Compute new S variable substitution from X nodemap
                                    Or(Condition, Condition)             40 22.            S' = newVariables(X envil', X parent child vars, S);
                                                                            23.
                                                                              24.          //Compute RXL block for potential solution
          These rules specify that a view tree Node is composed of            25.          R blocks = listAppend (oneSolution(X env', S', X block, r i),
       a tag, a rule, and a list of children nodes. A Rule is composed                     R blocks)
                                                                              26.      }
       of a Skolem term (its head) and a conjunctive list of 27. return R blocks
       conditions (its body). A Condition is either a table 45 28. }
       expression, a filter expression, or the disjunction of two lists
       of conjuncts.                                                          The initial environment (X env) maps the distinguished
          An XML-QL block is represented by a list of patterns, a variable Sviewtree to the root of the view tree referenced by
       list of filters, and a template. An RXL block is represented 50 the query. The initial variable-substitution S that maps
       by a list of conditions and a template:                             XML-QL variables to RXL expressions is empty, and
                                                                           X block is the top-level XML-QL block (lines 1-3). In this
                                                                           example, Sviewtree is bound to the root of the tree defined
                                                                           in the RXL query in section II, part A(1). The result of
                                        Pattern Filter, Template           compose is a list of RXL blockS. In the pseudo-code,
                                        Condition, Template             55 XML-QL expressions are prefixed by X and RXL expres
                                                                           sions by R
          A template is either: a constant String, a variable; an patterns,   Function compose (line 7) decomposes X block into its
                                                                                     filters, and template, and rewrites each nested
       element, which includes a tag and list of nested templates, pattern in a canonical form as a list of unnested patterns.
       or a nested query. To Simplify presentation, templates are 60 New temporary variables are introduced to represent the
       polymorphic, i.e., an XML-QL template contains only a intermediate                 nodes in the nested pattern.
       nested XML-QL block and similarly, for an RXL template.                On line 13, the patterns are evaluated in the current
                                                                           environment, producing R, which maps XML-QL variables
                                                                           to nodes and constants in the view tree. Each tuple in R
                Template :-            Const(String)                    65 represents one possible rewriting of the XML-QL query over
                                            Var(String)                    the view. For each tuple ri the current environment is
                                                                              extended with the new variable bindings (line 19).




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             Function newVariables (line 22) computes the new map
       pings of XML-QL and RXL variables to common RXL                                                                        -continued
       variables. In Summary, newVariables recovers the corre                                 2O.    R conditions = cons(rewriteXCX env, S, X filter), R conditions)
       spondence between Skolem terms that share a common                                     21.
       ancestor in the XML-QL pattern; this correspondence deter                              22.   If Put conditions in disjunctive normal form, i.e., Condition
       mines the mappings for RXL variables. For XML-QL                                       23.   R disjuncts = to DNF(R conditions)
                                                                                              24.
       variables, the mapping is simple. If the corresponding value                           25.   // Rename variables in X template
       is a leaf node or constant value, the variable is replaced by                          26.   R template = rewriteXCX env, S, X template)
       its value in the Substitution mapping S described in Section                           27.
       II, part B. If the corresponding value is an internal node, the                        28.   R blocks =
       variable is replaced by the complete RXL expression that                               29.   // Construct new RXL block: solution conditions + RXL template
                                                                                              3O.   foreach R conjunct in R disjuncts
       computes that element under the Substitution S. Lastly,                                31.     R blocks = cons(new RXL(R conjunct, R template), R blocks)
       function oneSolution (line 25) takes the new environment                               32.
       and computes the new RXL blocks, which are appended to 33. return RXL blocks
       the list of other potential solutions.                    15 34. }
          The composition algorithm for the oneSolution function
       in the following code constructs the RXL block in three      First, for each XML-QL variable X v in X block, it
       StepS.
                                                                    projects XV’s value from the Solution tuple r i. Its value is
                                                                                              a view-tree element and an associated rule, whose head and
                                                                                              body are projected in R head and R body, a list of
       1. // Return new RXL block for potential solution in r i                               conditions. Function makeCopy (line 13) assigns fresh vari
       2. fun oneSolution.(Env X env VarMap S, XMLQL X block,
          Env r i) : IRXL {                                                                   able names to all free variables in R condition, i.e., those
       3
       4.
               R conditions = new
               If For each XML-QL variable X v in X block                              25
                                                                                              that do not occur in the rule's head. Function rewriteR (line
       5.      foreach X v in getVariables(X block) {                                         15) rewrites the new rule, using the variable mapping S. The
       6        If Get view-tree node bound to X v                                            new condition is added to the conjunctive conditions in
       7        R node = project(r i, X. v);                                                  R conditions. Second, the function rewriteX (line 20)
       8.       If Get rule associated with view-tree node
       9.       (R tag, R rule R children) = R node                                           rewrites the XML-QL filters in X filters and adds those to
       10.      // Get body of rule                                                           R conditions. Third, the function to DNF (line 22) puts
       11.      (R head, R body) = R node:                                                    the new conditions in disjunctive normal form. On line 23,
       12.      foreach R condition in R body {
       13.       R condition' = makeCopy (R condition)                                        rewriteX rewrites the XML-QL template to produce the new
       14.       if Rename head variables in R condition' and add to
                 R conditions
                                                                                              RXL template. Finally, one new RXL block is created for
       15.       R conditions = cons(rewriteR(S, R condition"), R conditions)                 each list of conjuncts in R disjuncts, and the union of all
                                                                                       35     these blockS is returned.
       16. }
       17. }                                                                                    The rewriteX and rewriteR functions in the composition
       18. if Rename variables in X filters and add to R conditions
           foreach X filter in X filters                                                      algorithm of the rewrite function below 14, replace XML
                                                                                              QL and RXL variables by their new names in S.


                                                                   1. If rewriteX rewrites XML-QL expression as RXL expression
                                                                   2. fun rewriteX(Env X env, VarMap S, X Expr E) {
                                                                   3.         fun substX(E) {
                                                                   4.             case E of
                                                                   5.               Var(v)                     = lookupMap(S,v)
                                                                   6.               Const(c)                   = new Const(c)
                                                                   7.               Element(T, X)              = new Element(T. mapList(substX, X))
                                                                   8.               Relop(op, E1, E2)          = new Relop(op, substX(E1), substX(E2))
                                                                   9.               // Cases for all types of BoolExprs ...
                                                                   10.              // Recursively compose and rewrite nested XML-QL query
                                                                   11.              NestedQuery(X-block) = new NestedQuery(compose(X env, S, X block))
                                                                   12. }
                                                                   13. return substX(E)
                                                                   14. }
                                                                   15. If rewriteR renames RXL variables.
                                                                   16. fun rewriteR(S varmap, R Expr E) {
                                                                   17. fun substR(E) {
                                                                       18.        case E of
                                                                   19.            Var(v)                       = lookupMap(S,v)
                                                                   2O.            TableExpr(name, vars) = new TableExpr(name, mapList(substR, vars))
                                                                   21.            Filter(b)                    = new Filter(substR(b))
                                                                   22.            Or(11, 12)                   = new Or(mapList(subst, 11), mapList(substR, 12))
                                                                   23.            // Cases for all types of BoolExprs . . .
                                                                   24.            NestedQuery(RXL(conditions, template)) =
                                                                   25.               new NestedQuery(new RXL(mapList(substR, conditions), substR template))
                                                                   26.        }
                                                                   27         return substR(E)
                                                                   20.




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       The “helper functions substX and substR perform the                   receiving a user query against the Structured document
       variable substitutions. Note that rewriteX calls compose                view;
       recursively to rewrite a nested XML-QL block into an                  forming an executable query by determining a composi
       equivalent nested RXL block.                                             tion of the View query and the user query;
                           IV. Related Systems                               partitioning the executable query into a data extraction
                                                                                portion and a construction portion;
          IBM's DB2, XML Extender provides a Data Access                     transmitting the data extraction portion to the relational
       Definition (DAD) language that Supports both composition                database;
       of relational data in XML and decomposition of XML data 1O            receiving at least one tuple Stream from the relational
       into relational tables. DAD's composition feature, like RXL,            database according to the data extraction portion; and
       Supports generation of arbitrary XML from relational data.            merging the at least one tuple Stream and the construction
       Unlike RXL, the criteria for grouping elements is implicit in           portion to generate a
       the DAD and DAD specifications cannot be nested arbi                    Structured document, wherein the Structured document
       trarily. More significantly, XML Extender does not support 15                View is capable of defining a document of arbitrary
       query composition, however, DAD could be used as a                           nesting depth.
       View-definition language in a SilkRoute architecture.                  2. The method according to claim 1, wherein the user
                           V. General Discussion                           query is in XML-QL.
                                                                              3. The method according to claim 2, wherein the view
          SilkRoute is a general, dynamic, and efficient framework query is a RXL query.
       for viewing and querying relational data in XML. SilkRoute             4. The method according to claim 3, wherein the execut
       is an XML-export tool that can Support arbitrarily complex, able query is another RXL query.
       virtual views of relational data and support XML user                  5. The method device according to claim 1, wherein said
       queries over virtual views. The ability to support arbitrary Step of receiving the user query includes receiving the user
       ViewS is critical in data exchange between inter-enterprise 25 query from an application over a distributed network.
       applications, which must abide by public DTDs and cannot               6. The method according to claim 5, wherein the distrib
       reveal the underlying Schemas of their proprietary data. uted network is a private network.
       SilkRoute has many benefits. For example, the fragment of              7. The method according to claim 5, wherein the distrib
       the relational data requested by a user query need only be uted network is the World Wide Web.
       materialized; that requested data can be produced on                   8. The method according to claim 5, further including the
       demand; and the relational engine can perform most of the Step of transmitting the Structured document to the applica
       computation efficiently.                                            tion over the distributed network.
          SilkRoute has one translation Strategy, which generates             9. The method according to claim 1, wherein an answer to
       one SQL query for each RXL Sub query, which must be in the               executable query includes a fragment of the relational
       disjunctive-normal form (DNF). In practice, RXL view 35 database.
       queries can be arbitrary boolean combinations of table and ment        10. The method according to claim 9, wherein the frag
       filter expressions, for example, parallel. RXL blocks often                is one data item or a set of data items.
       construct parts of complex elements independently, i.e., they          11. The method according to claim 9, wherein the frag
       express unions. User queries over Such views often produce ment is an aggregate Value.
       composed queries with many unions. Any RXL Sub-query 40 12. The method according to claim 9, wherein the struc
       can be normalized into multiple sub-queries in DNF, which tured document includes the answer to the executable query.
       can result in a quadratic increase in the number of Sub                13. The method according to claim 1, wherein the data
       queries to evaluate. In practice, multiple queries in DNF can extraction portion includes at least one SQL query.
       be translated directly into SQL, for example, by using SQL's           14. The method according to claim 13, wherein the
       union-join constructs. Similarly, nested RXL queries often 45 construction portion is an XML template.
       express left outer joins, e.g., the parent Sub-query is the left       15. The method according to claim 13, wherein said step
       relation and the child Sub-query is the right relation. Two of receiving the at least one tuple Stream includes receiving
       SQL queries can be generated, one for parent and child, but one tuple Stream for each SQL-query included in the data
       one SQL query Suffices. In addition to reducing the number extraction portion.
       of SQL queries, each individual RXL sub-query can be 50 16. The method according to claim 1, wherein Said Step of
       minimized, i.e., redundant expressions can be eliminated, So forming the executable query includes combining fragments
       that the resulting SQL query is also, minimal. Techniques of the user query and the view query.
       exist for query minimization, but general algorithms are               17. A computer readable medium including a set of
       NP-complete. Heuristic algorithms are projected to be effec executable instructions Stored thereon for converting rela
       tive for RXL queries, because RXL's nested block structure 55 tional data Stored in a relational database into Structured
       can help identify those expressions that most likely are document data, the Set of instructions including:
       redundant. XML-QL and SilkRoute can be implemented in                  forming an executable query from a view query that
       Java. SilkRoute has drivers for Oracle and MySQL database                 defines a structured document view of the relational
       SCWCS.                                                                    database and a user query, a structure of the view query
          What is claimed:                                              60       being independent from a structure of the relational
          1. A method for converting relational data from a rela                 data in the relational database;
       tional database into a Structured document comprising the              partitioning the executable query into a data extraction
       Steps of:                                                                 portion and a construction portion;
          Storing a view query that defines a structured document             retrieving at least one tuple Stream from the relational
             view of the relational database, a structure of the view 65         database according to the data extraction portion; and
             query being independent of a structure of data in the            merging the at least one tuple Stream and the construction
             relational database;                                                portion to generate a structured document, wherein




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             the Structured document view is capable of defining a           35. The computer system according to claim 33, wherein
                document of arbitrary nesting depth.                      the Structured document includes the answer to the execut
          18. The computer readable medium according to claim able query.
       17, further comprising Storage for the view query.                    36. The computer system according to claim 28, wherein
          19. The computer readable medium according to claim the data eXtraction portion includes at least one SQL query.
       18, wherein the view query is a RXL query.
          20. The computer readable medium according to claim Said37.generator   The computer system according to claim 36, wherein
                                                                                            module receives one tuple Stream for each
       19, wherein the executable query is another RXL query.
          21. The computer readable medium according to claim SQL-query included in the data extraction portion.
       17, wherein an answer to the executable query includes a              38. The computer system according to claim 28, wherein
       fragment of the relational database.                               Said query composer module combines fragments of the user
          22. The computer readable medium according to claim query and the view query to form the executable query.
       21, wherein the fragment is one data item or a Set of data            39. The computer system according to claim 28, wherein
       items.                                                             the data eXtraction portion is executable by the relational
          23. The computer readable medium according to claim database.
       21, wherein the fragment is an aggregate value.
          24. The computer readable medium according to claim the40.query        The computer system according to claim 28, where in
                                                                       15

       21, wherein the Structured document includes the answer to                     composer module includes
       the executable query.                                                 a pattern matcher module configured to match patterns of
          25. The computer readable medium according to claim                   the user query and the View query to obtain a Solutions
       17, wherein the data extraction portion includes at least one            relation, in which each tuple represents a match; and
       SQL query.                                                            a rewriter module configured to rewrite each tuple.
          26. The computer readable medium according to claim
       25, wherein Said Step of retrieving the at least one tuple            41. A method of forming a composed query for use in
       Stream includes retrieving one tuple Stream for each SQL converting relational data of a relational database into XML
       query included in the data extraction portion.                     data, Said method comprising the Steps of:
          27. The computer readable medium according to claim 25 receiving a user query in an XML based language request
       17, wherein Said instruction of forming the executable query             ing relational data;
       includes combining fragments of the user query and the
       View query.                                                           forming a view query in a transformation language, the
          28. A computer System for converting relational data in a             View query defining a structured document view of the
       relational database into Structured document data, Said SyS              relational data and having a structure that is indepen
       tem comprising:                                                          dent from a structure of the relational data of the
          a query composer module configured to form an execut                  relational database; and
             able query from a view query that defines a structured          composing     an executable query in the transformation
             document view of the relational data and a user query,             language from the view query and the user query,
             the View query having a structure that is independent of           wherein
             a structure of the relational data in the relational 35
             database;                                                          the Structured document view is capable of defining a
          a translator module coupled to the query composer mod                    document of arbitrary nesting depth.
                                                                             42. The method according to claim 41, wherein the
             ule configured to receive the executable query, partition transformation
             the executable query into a data extraction portion and                        language is RXL.
                                                                             43. The method according to claim 41, wherein said step
             an construction portion, and transmit the data eXtrac 40 of composing includes the Steps of
             tion portion to a relational database;                          matching patterns of the user query and the view query to
          a generator module configured to receive the construction             obtain a Solutions relation, in which each tuple repre
             portion from Said translator module, receive at least one          Sents a match; and
             tuple Stream from the relational database based on data
             extraction portion, and merge the at least one tuple 45 rewriting          each tuple into a clause in the transformation
                                                                                language.
             Stream and the construction portion to generate a struc         44. The method according to claim 43, wherein Said Step,
             tured document, wherein
             the Structured document view is capable of defining a of matching patterns includes the Steps of:
                document of arbitrary nesting depth.                         constructing a view tree from the view query; and
          29. The computer system according to claim 28, wherein 50 evaluating the user query on the view tree.
       Said translator module receives a description of a Schema of          45. The method according to claim 43, wherein said step
       the relational data prior to partitioning the executable query. of rewriting includes the Step of constructing at least one
          30. The computer system according to claim 28, wherein block using from and where clause of the View query and a
       the user query is in XML-QL, the view query is a RXL query construct clause of the user query.
       and the executable query is another RXL query.                  55    46. The method according to claim 43, wherein said step
          31. The computer System according to claim 28, wherein of rewriting each tuple into a clause in the transformation
       Said query composer module is configured to receive the language is conducted on the basis of from/where clauses of
       user query from an application over a distributed network.         the View query, the Solutions relation, and construct clauses
          32. The computer System according to claim 31, wherein of the user query.
       Said generator module is configured to transmit the Struc 60 47. The method according to claim 1, wherein a format of
       tured document to the application over the distributed net the structured document is XML.
       work.                                                                 48. The computer readable medium according to claim
          33. The computer system according to claim 28, wherein 17, wherein a format of the structured document is XML.
       an answer to the executable query includes a fragment of the          49. The computer system according to claim 28, wherein
       relational database.                                               a format of the Structured document generated by the
          34. The computer system according to claim 33, wherein 65 generator module is XML.
       the fragment is one data item, a set of data items or an
       aggregate Value.                                                                           k   k  k    k  k




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                  UNITED STATES PATENT AND TRADEMARK OFFICE
                        CERTIFICATE OF CORRECTION

  PATENT NO.       : 6,604,100 B1                                                                   Page 1 of 1
  DATED            : August 5, 2003
  INVENTOR(S) : Maria F. Fernandez et al.

          It is certified that error appears in the above-identified patent and that said Letters Patent is
          hereby corrected as shown below:

         Title page,
         Item 57, ABSTRACT,
         Lines 1-2, “(Extensible Markup Language)” has been replaced by -- (eXtensible
         Markup Language) --
         Column 28
         Line 46, "...wherein said step, of matching patterns...” has been replaced with
         -- ...Wherein Said Step of matching patterns... --




                                                                   Signed and Sealed this
                                                         Twenty-fifth Day of November, 2003




                                                                              JAMES E ROGAN
                                                              Director of the United States Patent and Trademark Office




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